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Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 2 of 116 Page ID
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                                 #:2143
Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 4 of 116 Page ID
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Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 5 of 116 Page ID
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Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 6 of 116 Page ID
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Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 7 of 116 Page ID
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                                 #:2162
Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 23 of 116 Page ID
                                 #:2163
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                                 #:2164
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                                 #:2166
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                          Exhibit 31
              Case
               Case2:18-mj-00996-DUTY *SEALED*
                     2:18-cv-06742-RGK-PJW      Document
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                                                                                           Page ID2
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                                     United States District Court
       ___________CENTRAL_                                      ___              DISTRICT OF                       CALIFORNIA_______    ________

              In the Matter of the Seizure of
(Address or Brief description of property or premises to be seized)                                           SEIZURE WARRANT
Any and all funds held in Republic Bank of                                                                    CASE NUMBER: 2:18-MJ-00996
Arizona Account #11402485; 11101897;
11003126; 1021078316; 1021078324;
1021078332; 1021078103; 1021078162; and
1021078189


       TO:    United States Postal Service (USPIS) and any Authorized Officer of the United States, Affidavit(s) having been made before
       me by POSTAL INSPECTOR LYNDON A. VERSOZA who has reason to believe that in the Northern District of California and
       elsewhere there is now certain property which is subject to forfeiture to the United States, namely (describe the property to be seized)

       Any and all funds held in Republic Bank of Arizona Account #11402485; 11101897; 11003126; 1021078316;
       1021078324; 1021078332; 1021078103; 1021078162; and 1021078189
       which is (state one or more bases for seizure under United States Code)

       subject to seizure and forfeiture under 18 U.S.C. § 981(a)(1)(A) and (C)

       concerning a violation of Title 18                             United States Code, Sections 1952, 1956, and 1957.

       I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is subject
       to seizure and that grounds exist for the issuance of this seizure warrant.

         Republic Bank of Arizona is ordered to deliver said funds immediately and forthwith upon presentation of this warrant to the law
       enforcement agent serving the warrant, in the form of a cashier's check made payable to the United States Postal Service.

       YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in the
       daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written inventory
       of the property seized and promptly return this warrant to the undersigned judicial officer as required by law.




                      4/26/2018 at 3:30pm                                                                     Los Angeles, California
        Date and Time Issued                                                                          City and State


        Hon. JOHN E. MCDERMOTT, U.S. Magistrate Judge
        Name and Title of Judicial Officer                                                            Signature of Judicial Officer


        JOHN J. KUCERA/drb
Case
 Case2:18-mj-00996-DUTY *SEALED*
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                                                                             Page ID2
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                                                            RETURN
DATE WARRANT RECEIVED             DATE AND TIME WARRANT EXECUTED                COPY OF WARRANT AND RECEIPT FOR ITEMS LEFT
                                                                                WITH



INVENTORY MADE IN THE PRESENCE OF




INVENTORY OF PROPERTY SEIZED PURSUANT TO THE WARRANT




                                                       CERTIFICATION


I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and will be
returned through a filing with the Clerk’s Office.



Date:
                                                                    Executing Officer’s Signature



                                                                   Printed Name and Title
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                          Exhibit 32
     Case
     Case2:18-mj-00996-DUTY *SEALED*
          2:18-cv-06742-RGK-PJW       Document
                                 Document      5 Filed
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                                                                   36 of1116
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                                                                                    ID
                                        #:399
                                        #:2176


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 2    District of Arizona

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 4    MARGARET PERLMETER (Ariz. Bar No. 024805,
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 5    JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
      Assistant U.S. Attorneys
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      Acting Assistant Attorney General
 9    Criminal Division, U.S. Department of Justice

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      950 Pennsylvania Ave N.W., Room 2116
12    Washington, D.C. 20530
      Telephone (202) 616-2807
13    Attorneys for Plaintiff

14    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
15

16                             UNITED STATES DISTRICT COURT

17                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

18    In the matter of the seizure of           No. 2:18-MJ-00996
      Any and all funds held in
19    Republic Bank of Arizona Account          NOTICE OF ERRATA
      #11402485; 11101897; 11003126;
20                                              Paragraphs 63a – 63h
      1021078316; 1021078324;
21    1021078332; 1021078103;
      1021078162; and 1021078189
22

23

24          Plaintiff United States of America (the “government”), by and

25    through its counsel of record, the United States Attorney for the

26    Central District of California and Assistant United States Attorney

27    John J. Kucera, hereby files its Notice of Errata, indicating

28    corrections to Paragraph 63a – 63h of the Affidavit.
     Case
     Case2:18-mj-00996-DUTY *SEALED*
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                                        #:2177


 1          On April 26, 2018, the government filed the affidavit in the

 2    above-captioned matter in support of its application for a seizure

 3    warrant.    Since the initial filing, the government has discovered

 4    that some of the tracing language in paragraphs 63a – 63h of the

 5    affidavit is inaccurate.       This inaccuracy, however, does not affect

 6    the Court’s previous finding of probable cause to issue the seizure

 7    warrant.

 8          The correct tracing language for paragraphs 63a – 63h is as

 9    follows:

10                a.    On December 2, 2016, the Foreign Account (first
11    described in paragraph 42, above) wired $324,055.85 to Seized Account
12
      2A (Compass Bank account – 3873).
13
                  b.    On December 8, 2016, the Foreign Account wired
14
      $499,970.00 to Seized Account 2A.
15
                  c.    On December 27, 2016, the Foreign Account wired
16

17    $199,970.00 to Seized Account 2A.

18                d.    From March through December 2017, Seized Account 2A

19    paid over $9,000 to “Cox Communications,” an internet services
20    company that provides voice-over-internet phone and cable services.
21
      I believe that Backpage uses Cox Communications to facilitate its
22
      internet presence and promote its sale of prostitution advertising.
23
                  e.    On May 31, 2017, Seized Account 2A wired approximately
24

25    $676,808.04 into SUBJECT ACCOUNT 16A.

26                f.    On June 30, 2017 SUBJECT ACCOUNT 16A transferred

27    $600,000 to SUBJECT ACCOUNT 16B.
28                g.    On April 16, 2018, Lacey personally went into the
                                               2
     Case
     Case2:18-mj-00996-DUTY *SEALED*
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 1    Republic Bank of Arizona, withdrew $500,000 from SUBJECT ACCOUNT 16A
 2    and opened SUBJECT ACCOUNT 16C with an initial deposit of the
 3
      $500,000 he had just withdrawn from SUBJECT ACCOUNT 16A.
 4
                  h.    On or about February 15, 2018, Lacey drafted two
 5
      checks totaling $1.2 million, which he used to fund his "CDARS"
 6
      accounts at Republic Bank of Arizona.          The first check was drawn from
 7

 8    Seized Account 6 in the amount of $600,000.           The second check was

 9    drawn from Seized Account 9, also in the amount of $600,000.              The

10    combination of these two checks totaling $1.2 million were split and
11    deposited between SUBJECT ACCOUNTS 16D (which received $600,000),
12
      SUBJECT ACCOUNTS 16E (which received $300,000) and 16F (which
13
      received $300,000).
14

15
       Dated: May 8, 2018                    Respectfully submitted,
16
                                             ELIZABETH A. STRANGE
17                                           First Assistant United States
                                             Attorney
18                                           District of Arizona
19                                           JOHN P. CRONAN
                                             Acting Assistant Attorney General
20                                           Criminal Division, U.S. Department
                                             of Justice
21
                                                   /s/John J. Kucera
22                                           KEVIN RAPP
                                             DOMINIC LANZA
23                                           MARGARET PERLMETER
                                             JOHN J. KUCERA
24                                           Assistant U.S. Attorneys
25                                           REGINALD JONES
                                             Senior Trial Attorney
26
                                             Attorneys for Plaintiff
27                                           UNITED STATES OF AMERICA
28

                                               3
Case 2:18-cv-06742-RGK-PJW Document 8-2 Filed 08/01/18 Page 39 of 116 Page ID
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                          Exhibit 33
     Case
     Case2:18-mj-00997-DUTY *SEALED*
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                                        #:279
                                        #:2180


 1

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 3

 4

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 7

 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                    WESTERN DIVISION

11
      IN RE: APPLICATION, AFFIDAVIT             No. 2:18-MJ-00997
12    AND SEIZURE WARRANT 18-MJ-00997
                                                ORDER UNSEALING THE APPLICATION
13                                              FOR SEIZURE WARRANT, AFFIDAVIT AND
                                                SEIZURE WARRANT
14

15

16

17

18          The United States of America has applied ex parte for an order
19    unsealing Applications, Affidavits and Seizure warrant for the
20    following CR Misc. Nos.: 18-MJ-00711; 18-MJ-00712; 18-MJ-00713; 18-
21    MJ-00715; 18-MJ-00716; 18-MJ-00718; 18-MJ-00719; 18-MJ-00721; 18-MJ-
22    00722; 18-MJ-00723; 18-MJ-00724; 18-MJ-00751; 18-MJ-00752; 18-MJ-
23    00797; 18-MJ-00798; 18-MJ-00996; 18-MJ-00997; 18-MJ-00998; 18-MJ-
24    00999; 18-MJ-01000; and 18-MJ-01001.
25          This applications, affidavits and seizure warrants were required
26    to be sealed pursuant to the March 28, April 4, and April 26, 2018,
27    Sealing Orders unless and until the court terminates that order or
28
     Case
     Case2:18-mj-00997-DUTY *SEALED*
          2:18-cv-06742-RGK-PJW       Document
                                 Document      6 Filed
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                                        #:280
                                        #:2181


 1    upon the filing of a civil complaint for forfeiture against any

 2    assets seized pursuant to the execution of the warrants, whichever is

 3    earlier.

 4          IT IS ORDERED:

 5          The Applications, Affidavits and Seizure warrant for the

 6    following CR Misc. Nos.: 18-MJ-00711; 18-MJ-00712; 18-MJ-00713; 18-

 7    MJ-00715; 18-MJ-00716; 18-MJ-00718; 18-MJ-00719; 18-MJ-00721; 18-MJ-

 8    00722; 18-MJ-00723; 18-MJ-00724; 18-MJ-00751; 18-MJ-00752; 18-MJ-

 9    00797; 18-MJ-00798; 18-MJ-00996; 18-MJ-00997; 18-MJ-00998; 18-MJ-

10    00999; 18-MJ-01000; and 18-MJ-01001 are unsealed.

11

12    DATED: 05/16/2018
                                          UNITED STATES
                                                 STA
                                                  T TES MAGISTRATE
                                                        MAGISTRATE JUDGE
                                                        MA         JU
13

14
      PRESENTED BY:
15
      NICOLA T. HANNA
16    United States Attorney
      LAWRENCE S. MIDDLETON
17
      Assistant United States Attorney
18    Chief, Criminal Division
      STEVEN R. WELK
19    Assistant United States Attorney
      Chief, Asset Forfeiture Section
20
       /s/John J. Kucera___
21
      JOHN J. KUCERA
22    Assistant United States Attorney

23    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
24

25

26

27

28

                                               2
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                          Exhibit 34
              Case
               Case2:18-mj-00997-DUTY *SEALED*
                     2:18-cv-06742-RGK-PJW      Document
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                                                                                           Page ID2
                                                Page ID #:139
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                                     United States District Court
       ___________CENTRAL_                                      ___              DISTRICT OF                       CALIFORNIA_______    ________

              In the Matter of the Seizure of
(Address or Brief description of property or premises to be seized)                                           SEIZURE WARRANT
Any and all funds held in K&H Account #                                                                       CASE NUMBER: 2:18-MJ-00997
HU63104010935052676785761210




       TO:      United States Postal Service (USPIS) and any Authorized Officer of the United States, Affidavit(s) having been made before
       me by POSTAL INSPECTOR LYNDON A. VERSOZA who has reason to believe that in the Country of Hungary and elsewhere
       there is now certain property which is subject to forfeiture to the United States, namely (describe the property to be seized)

       Any and all funds held in K&H Account # HU63104010935052676785761210
       which is (state one or more bases for seizure under United States Code)

       subject to seizure and forfeiture under 18 U.S.C. § 981(a)(1)(A) and (C)

       concerning a violation of Title 18                             United States Code, Sections 1952, 1956, and 1957.

       I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is subject
       to seizure and that grounds exist for the issuance of this seizure warrant.

         K&H Bank is ordered to deliver said funds immediately and forthwith upon presentation of this warrant to the law enforcement
       agent serving the warrant, in the form of a cashier's check made payable to the United States Postal Service.

       YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in the
       daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written inventory
       of the property seized and promptly return this warrant to the undersigned judicial officer as required by law.




               4/26/2018 at 3:30pm
                                                                                                              Los Angeles, California
        Date and Time Issued                                                                          City and State


        Hon. JOHN E. MCDERMOTT, U.S. Magistrate Judge
        Name and Title of Judicial Officer                                                            Signature of Judicial Officer


        JOHN J. KUCERA/drb
Case
 Case2:18-mj-00997-DUTY *SEALED*
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                                             *SEALED*
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                                                                             Page ID2
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                                                            RETURN
DATE WARRANT RECEIVED             DATE AND TIME WARRANT EXECUTED                COPY OF WARRANT AND RECEIPT FOR ITEMS LEFT
                                                                                WITH



INVENTORY MADE IN THE PRESENCE OF




INVENTORY OF PROPERTY SEIZED PURSUANT TO THE WARRANT




                                                       CERTIFICATION


I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and will be
returned through a filing with the Clerk’s Office.



Date:
                                                                    Executing Officer’s Signature



                                                                   Printed Name and Title
       Case
        Case2:18-mj-00997-DUTY *SEALED*
              2:18-cv-06742-RGK-PJW     Document
                                    Document      3-1 *SEALED*
                                             8-2 Filed           Filed45
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                                      128 Page  ID #:141
                                           #:2185



                             United States District Court
___________CENTRAL_                                    ___                 DISTRICT OF                      CALIFORNIA_______       ________

              In the Matter of the Seizure of
(Address or Brief description of property or premises to be seized)                FILED               APPL
                                                                                                       APPLICATION AND AFFIDAVIT
                                                                          CLERK, U.S. DISTRICT COURT
Any and all funds held in K&H Account
                                 ount #                                                                  FOR SEIZURE WARRANT
                                                                                                         F
HU63104010935052676785761210
                                                                             APR
                                                                               R 26 2018          E NUMBER:
                                                                                               CASE NU      2:18-MJ-00997

                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                        BY: ___________________ DEPUTY


I, LYNDON A. VERSOZA, being duly sworn, depose and say:

I am a United States Postal Inspector with the United States Postal Inspection Service, and I have reason to believe that
in the                COUNTRY OF HUNGARY                          and elsewhere there is now concealed a certain person or
property, namely (describe the person or property to be seized)

Any and all funds held in K&H Account # HU63104010935052676785761210
which is (state one or more bases for seizure under United States Code)

subject to seizure and forfeiture under18 U.S.C. § 981(a)(1)(A) and (C)

concerning a violations of Title 18 United States Code, Sections 1952, 1956 and 1957.

The facts to support a finding of Probable Cause for issuance of a Seizure Warrant are as follows:

Continued on the attached sheet and made a part hereof.                                X Yes    No




                                                                                                                  /s/
                                                                                                _____________________________________________
                                                                                                    Signature of Affiant

Sworn to before me, and subscribed in my presence


                      4/26/2018
                                                                                                 Los Angeles, CA
Date                                                                                           City and State


Hon. JOHN E. MCDERMOTT, U.S. Magistrate Judge
Name and Title of Judicial Officer                                                             Signature of Judicial Officer

John Kucera/drb
Case
 Case2:18-mj-00997-DUTY *SEALED*
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                             Document      3-1 *SEALED*
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                                    #:2186




              AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

  I, Lyndon A. Versoza, being duly sworn, hereby depose and state

  as follows:

        I.     TRAINING AND EXPERIENCE

        1.     I am a United States Postal Inspector employed by the

  United States Postal Inspection Service (“USPIS”), Los Angeles

  Division, in Los Angeles, California, where I have served since

  June 2005.    Currently, I am responsible for investigating

  criminal violations of money laundering and structuring laws,

  such as when United States Postal Service (“USPS”) Money Orders

  or the United States Mail are used as a means to launder or

  structure funds.     During my career as a Postal Inspector, I have

  participated in or investigated financial violations including

  money laundering, darknet investigations, digital currency

  investigations, structuring, bank, wire and mail fraud, and

  identity theft.     In addition, I have received both formal and

  informal training from USPIS and other agencies regarding money

  laundering and financial crimes.        For approximately five years

  prior to investigating money laundering, I was assigned to

  investigate child exploitation and sex trafficking.            In that

  assignment, I worked both independently and in a task force

  where I led and participated in investigations related to crimes

  involving the exploitation of children and sex trafficking.
Case
 Case2:18-mj-00997-DUTY *SEALED*
       2:18-cv-06742-RGK-PJW     Document
                             Document      3-1 *SEALED*
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        2.    Prior to my service as a U.S. Postal Inspector, I

  attended the University of Southern California in Los Angeles,

  where, in 2001, I received a bachelor’s degree.           While in

  college, I was the website administrator for a non-profit media

  company in Los Angeles where, among other things, I learned

  about domain names, domain name servers, and remote hosting.

  Following college, from 2002 to 2005, I served as a law

  enforcement officer with the U.S. Immigration and Naturalization

  Service, which later became U.S. Customs and Border Protection.

  There, among other things, I worked on cases involving human

  smuggling and international sex trafficking.

        3.    I am familiar with the facts and circumstances

  described herein.      This affidavit is based upon my personal

  involvement in this investigation, my training and experience,

  and information obtained from various law enforcement personnel

  and witnesses, including information that has been reported to

  me either directly or indirectly.        This affidavit does not

  purport to set forth my complete knowledge or understanding of

  the facts related to this investigation.          Unless specifically

  indicated otherwise, all conversations and statements described

  in this affidavit are related in substance and part only.             All

  figures, times, and calculations set forth herein are

  approximate.



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        II.    SUMMARY AND PURPOSE OF AFFIDAVIT

        4.     This affidavit is made in support of applications for

  warrants to seize all funds held in certain SUBJECT ACCOUNTS,

  all owned or controlled by “Backpage.com” (referred to herein as

  “Backpage”), associated entities, and their owners and

  operators.

          A. Background

        5.     This case is being investigated by the USPIS, the

  Federal Bureau of Investigation (“FBI”) and the Internal Revenue

  Service-Criminal Investigation (“IRS-CI”), with assistance from

  the Los Angeles Joint Regional Intelligence Center.

        6.     The focus of the investigation has been on violations

  by Backpage, its associated entities, and their owners and

  operators, of Title 18, United States Code, Sections

  1952(a)(3)(A) and (b)(i)(1) (Interstate and Foreign Travel in

  Aid of Racketeering Enterprise); and Title 18 U.S.C. §§ 1956 and

  1957, (Money Laundering).

        7.     From speaking with other agents in this investigation,

  and reviewing emails, internal documents, and other records

  related to this investigation, I know the following:

               a.   Backpage.com, LLC, incorporated in Delaware in

  2004, is an internet-based company that allows customers to post

  on-line classified advertisements.          These advertisements include

  sections dedicated to a variety of matters, including adult,

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  automotive, community, dating, jobs, local places, musicians,

  rentals and services.      Backpage receives between 75 million to

  100 million unique internet visitors per month.

              b.    Backpage realizes profits in the tens of millions

  of dollars per year from adult advertisement.           Historically,

  adult ads, where Backpage advertisers post sex trafficking ads,

  constitute less than ten percent of all advertisements posted on

  the website.     However, the adult ads generate over 90 percent of

  Backpage’s revenue.      In short, Backpage derives almost all its

  revenue and profits from adult service ads, including

  advertising for sex trafficking. 1

              c.    In or about 2004, operators Michael Lacey

  (“Lacey”), James Larkin (“Larkin”), and Carl Ferrer (“Ferrer”)

  created Backpage.      There were also two minority owners; John

  Brunst (“Brunst”), who owned 5.67 percent; and Scott Spear



    1According to Backpage accounting records, for the period May 1
  to May 31, 2014, over 90% of Backpage’s revenues derived from
  what they characterized as “adult entertainment.” Backpage’s
  internal documents suggest that this 90% figure has been
  consistent since its 2004 inception.
   For example, between October 6, 2014, and May 31, 2015,
  Backpage grossed almost $105 million from advertising “adult
  entertainment.” During this same period, Backpage grossed only
  $1.6 million from all other advertisements combined. Assuming
  that Backpage has accurately estimated that 90% of its revenues
  are generated from “adult” and “escort” ads, Backpage has
  generated as much as $500 million in prostitution-related
  revenue since 2004.



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  (“Spear”), who owned 4.09 percent.          From 2004 until 2015, Lacey

  and Larkin oversaw the website’s policies and strategic

  direction.    In 2015, Lacy and Larkin purportedly sold all or

  substantially all of their interests in Backpage to Ferrer. 2

  However Lacey and Larkin retained significant control over the

  website, and both Lacey and Larkin continue to receive tens of

  millions of dollars of annual distributions of Backpage revenue.

               d.   While not an original owner, Ferrer was one of

  the original officers of Backpage, having initially served as

  Backpage’s vice-president, and later as CEO.          Ferrer is also the

  CEO of several Backpage related entities in the Netherlands,

  including “Website Technologies,” “Amstel River Holdings,” and

  “Ad Tech BV.”

               e.   Michael Thomas Gage (“Gage”) has no formal

  position at Backpage, but is the President, Chief Executive

  Officer, Treasurer, and Secretary of another Backpage controlled

  entity, “Posting Solutions,” a wholly owned subsidiary of

  Backpage that receives payments from Backpage advertisers.

  According to his social media profile, Gage is also the Chief




    2From my review of financial records related to Ferrer’s 2015
  agreement to purchase Backpage, it appears that, through a
  series of loans from other Backpage Operators to be repaid by
  Ferrer, Ferrer agreed to purchase Backpage for approximately
  $400 million.
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  Financial Officer of Website Technologies.          Based on emails he

  has sent and wire transfer information, Gage appears to control

  much of the international and domestic financial transactions of

  Backpage and its related entities.

              f.    Daniel Hyer (“Hyer”) at one time was the Sales

  and Marketing Director of Backpage.         He remains an account

  signatory for Backpage controlled entities, including Website

  Technologies.

        8.    Throughout this affidavit, the individuals identified

  in paragraphs 7(c) through (f), along with others not named in

  this affidavit, are collectively referred to as the “Backpage

  Operators.”

        9.    Based on a review of publicly available materials

  obtained in the course of the investigation, and my review of

  the Backpage website, I have learned the following:

              a.    The majority of the paid advertisements on the

  Backpage website relate to prostitution activities in violation

  of 18 U.S.C. §§ 1591 and 1252.

              b.    As further described below, Backpage itself, as

  well as its operators, who are in control of the SUBJECT

  ACCOUNTS (as defined below), is in the business of promoting the

  trafficking of children and adults for sex.          Sex trafficking of

  adults is a violation of 18 U.S.C. § 1952, and sex trafficking

  of children is a violation of 18 U.S.C. 1591, each of which

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  statutes is a Specified Unlawful activity (“SUA”) within the

  meaning of federal law. (see 18 U.S.C. § 1956(c)(7)(vii)).

              c.    The SUBJECT ACCOUNTS are located both inside and

  outside the United States.       The domestic accounts have received

  wire transfers from places outside of the United States or have

  received funds traceable to wire transfers from places outside

  of the United States, which funds Backpage has used to promote

  sex trafficking, in violation of 18 U.S.C. § 1956(a)(2)(A)

  (International Money Laundering).        Some of the SUBJECT ACCOUNTS

  have received transfers or deposits in excess of $10,000

  traceable to the SUA, in violation of 18 U.S.C. § 1957 (Money

  Laundering Spending Statute).

              d.    Backpage, until recently, controlled numerous

  domain names that have since been seized by the government

  pursuant to a seizure warrant issued in this district in case

  no. CR. Misc. 2:18-MJ-00711. 3      The Seized Domains are registered

  by “ASCIO TECHNOLOGIES INC” DBA “NETNAMES,” a domain registrar

  that manages the reservation of internet domain names.            A domain

  registrar serves to ensure that a registered domain name, like

  each of the Seized Domains, is not double sold.           Additionally, a

  domain registration will allow the owner of the domain to direct




  3The domain names seized pursuant to that warrant are referred to
  herein as the “seized domains.”
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  internet traffic to a company’s webserver.            The Seized Domains

  were found to have been acquired and maintained with funds

  traceable to the money laundering scheme described herein,

  specifically with funds from an account seized pursuant to a

  separate seizure warrant in case no. CR. Misc. 2:18-MJ-00721,

  and the Seized Domains were the mechanism Backpage used to

  promote the prostitution and sex trafficking activity described

  below.

           B. SUBJECT ACCOUNTS

        10.   This affidavit is offered in support of applications

  for warrants to seize all funds and securities held in the

  following U.S. and foreign bank accounts         4   (hereinafter referred

  to collectively as the “SUBJECT ACCOUNTS”):

              a.    SUBJECT ACCOUNT 16A: 5 Republic Bank of Arizona




    4Pursuant to 18 U.S.C. § 981(b)(3), this Court has authority to
  issue a seizure order for foreign accounts (“Notwithstanding the
  provisions of Rule 41(a) of the Federal Rules of Criminal
  Procedure, a seizure warrant may be issued . . . in any district
  in which a forfeiture action may be filed . . . and may be
  transmitted to the central authority of any foreign state for
  service with any treaty or other international agreement”).
    5The numbering of the subject accounts picks up from prior
  warrant applications for different accounts, the contents of
  which have already been seized. See 18-MJ-711; 18-MJ-712; 18-
  MJ-713; 18-MJ-715; 18-MJ-716; 18-MJ-178; 18-MJ-720; 18-MJ-721;
  18-MJ-722; 18-MJ-723; 18-MJ-724; 18-MJ-751; 18-MJ-752; 18-MJ-
  797; and 18-MJ-798.
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   account number 11402485 is a money market account held in the

   name of Lacey.

               b.    SUBJECT ACCOUNT 16B: Republic Bank of Arizona

   account number 11101897 is a checking account held in the name

   of Lacey.

               c.    SUBJECT ACCOUNT 16C: Republic Bank of Arizona

   account number 11003126 is an account held in the name of Lacey.

               d.    SUBJECT ACCOUNT 16D:      Republic Bank of Arizona

   account number 1021078316 is a Certificate of Deposit Account

   Registry Service (“CDARS”) account held in the name of Lacey.

               e.    SUBJECT ACCOUNT 16E: Republic Bank of Arizona

   account number 1021078324 is a CDARS account held in the name of

   Lacey.

               f.    SUBJECT ACCOUNT 16F: Republic Bank of Arizona

   account number 1021078332 is a CDARS account held in the name of

   Lacey.

               g.    SUBJECT ACCOUNT 16G: Republic Bank of Arizona

   account number 1021078103 is a CDARS account held in the name of

   Larkin.

               h.    SUBJECT ACCOUNT 16H: Republic Bank of Arizona

   account number 1021078162 is a CDARS account held in the name of

   Larkin.

               i.    SUBJECT ACCOUNT 16I: Republic Bank of Arizona

   account number 1021078189 is a CDARS account held in the name of

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   Larkin.

               j.    SUBJECT ACCOUNT 17: K&H Bank, located in Hungary,

   account number HU63104010935052676785761210, is an account held

   in the name of Primus Trust Company (Binghampton Trust) for the

   benefit of Lacey.

               k.    SUBJECT ACCOUNT 18A: Fio Bank, located in the

   Czech Republic, account number CZ9020100000002300995803, is an

   account held in the name of Ad Tech BV, with Ferrer as the

   ultimate beneficial owner.

               l.    SUBJECT ACCOUNT 18B: Fio Bank, in the Czech

   Republic, account number CZ1220100000002000995801, is an account

   held in the name of Ad Tech BV, with Ferrer as the ultimate

   beneficial owner.

               m.    SUBJECT ACCOUNT 18C: Fio Bank, in the Czech

   Republic, account number CZ7120100000002600995805, is an account

   held in the name of Ad Tech BV, with Ferrer as the ultimate

   beneficial owner.

               n.    SUBJECT ACCOUNT 18D: Fio Bank, in the Czech

   Republic, account number CZ7020100000002001002226, is an account

   held in the name of Gold Leaf SRO.          All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

               o.    SUBJECT ACCOUNT 18E: Fio Bank, in the Czech

   Republic, account number CZ7620100000002101002231, is an account

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   held in the name of Gold Leaf SRO.          All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

               p.    SUBJECT ACCOUNT 18F: Fio Bank, in the Czech

   Republic, account number CZ8520100000002501002230, is an account

   held in the name of Gold Leaf SRO.          All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

               q.    SUBJECT ACCOUNT 18G: Fio Bank, in the Czech

   Republic, account number CZ4620100000002000914194, is an account

   held in the name of Protecctio SRO.          All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

               r.    SUBJECT ACCOUNT 18H: Fio Bank, in the Czech

   Republic, account number CZ2720100000002300914196, is an account

   held in the name of Protecctio SRO.          All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

               s.    SUBJECT ACCOUNT 18I: Fio Bank, in the Czech

   Republic, account number CZ0820100000002600914198, is an account

   held in the name of Protecctio SRO.          All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

               t.    SUBJECT ACCOUNT 18J: Fio Bank, in the Czech

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   Republic, account number CZ4820100000002801118083, is an account

   held in the name of Varicok Company SRO.          All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

               u.    SUBJECT ACCOUNT 18K: Fio Bank, in the Czech

   Republic, account number CZ2020100000002701118086, is an account

   held in the name of Varicok Company SRO.          All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

               v.    SUBJECT ACCOUNT 18L: Fio Bank, in the Czech

   Republic, account number CZ7620100000002901118080, is an account

   held in the name of Varicok Company SRO.          All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

               w.    SUBJECT ACCOUNT 19A: Bank Frick, located in

   Liechtenstein, account number LI09 0881 1060 7717 K000 K, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

               x.    SUBJECT ACCOUNT 19B: Bank Frick, in

   Liechtenstein, account number LI30 0881 1060 7717 K000 U, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

               y.    SUBJECT ACCOUNT 19C: Bank Frick, in

   Liechtenstein, account number LI74 0881 1060 7717 K000 E, is an

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   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

               z.    SUBJECT ACCOUNT 19D: Bank Frick, in

   Liechtenstein, account number LI90 0881 1060 7717 K001 E, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

               aa.   SUBJECT ACCOUNT 20: Knab Bank, located in the

   Netherlands, account number NL15KNAB0255357664, is an account

   held in the name of Procop Services BV.          All funds and

   securities in this account are held for Backpage.com by Procop

   Services BV.

               bb.   SUBJECT ACCOUNT 21A: Rabo Bank, in the

   Netherlands, account number NL44RABO0307182452, is an account

   held in the name of Gulietta Group BV.          All funds and securities

   in this account are held for Backpage.com by Guilietta Group BV.

               cc.   SUBJECT ACCOUNT 21B: Rabo Bank, in the

   Netherlands, account number NL64RABO0307604721, is an account

   held in the name of UniversAds BV.          All funds and securities in

   this account are held for Backpage.com by UniversAds BV.

         III. APPLICABLE LAW

         11.   There is probable cause to believe that funds and/or

   securities on deposit in the SUBJECT ACCOUNTS are subject to

   seizure and forfeiture by the United States under the following

   provisions:

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               a.    18 U.S.C. § 981(a)(1)(A), because the funds

   and/or securities are involved in, and traceable to, one or more

   transactions or attempted transactions in violation of 18 U.S.C.

   § 1956(h) (Conspiracy to Launder Money), 18 U.S.C. § 1956(a)(2)

   (International Money Laundering for Promotion), and 18 U.S.C. §

   1957 (Financial Transactions Involving Illicit Proceeds).

   Pursuant to 18 U.S.C. § 981(a)(1)(A), any property involved in a

   transaction, or attempted transaction, in violation of 18 U.S.C.

   §§ 1956 or 1957, or any property traceable to such property, is

   subject to forfeiture to the United States; and

               b.    18 U.S.C. § 981(a)(1)(C), because the funds

   and/or securities constitute and are derived from proceeds

   traceable to one or more violations of 18 U.S.C. § 1956(h), 18

   U.S.C. § 1956(a)(2), and 18 U.S.C. § 1957.

         12.   Title 18 U.S.C. § 1956 prohibits, among other things,

   financial transactions involving the proceeds of SUAs --

   committed or attempted (1) with the intent to promote further

   predicate offenses; (2) with the intent to evade taxation; (3)

   knowing the transaction is designed to conceal the source,

   location, ownership or control of the proceeds; or (4) knowing

   the transaction is designed to avoid anti-laundering financial

   reporting requirements.       18 U.S.C. § 1956(h) prohibits two or

   more parties agreeing to accomplish the unlawful purpose of

   money laundering.

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         13.   Title 18 U.S.C. § 1957 prohibits a party from

   knowingly engaging in a monetary transaction in excess of

   $10,000 with property that is criminally derived from some SUA.

         14.   Title 18 U.S.C. § 1956(a)(2) (International Money

   Laundering for Promotion) makes it a crime to transport,

   transmit, or transfer, or attempt to transport, transmit, or

   transfer, monetary instruments or funds (including funds that

   are not criminal proceeds) from the United States to or through

   a place outside the United States, or to the United States from

   or through a place outside the United States, with the intent to

   promote some SUA, as that term is defined in 18 U.S.C. §

   1956(c)(7).

         15.   The “Travel Act,” 18 U.S.C. § 1952(a), an SUA,

   prohibits, in part, the use of the mail or any facility in

   interstate or foreign commerce with the intent to otherwise

   promote, manage, establish, carry on, or facilitate the

   promotion, management, establishment, or carrying on of any

   unlawful activity, by any person who thereafter performs or

   attempts to perform an act to promote, manage, establish, carry

   on, or facilitate the promotion, management, establishment and

   carrying on of such unlawful activity.          “Unlawful Activity,” as

   defined in 18 U.S.C. § 1952(b), includes prostitution offenses

   in violation of the laws of the state in which such acts are

   committed or in violation of the laws of the United States.

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   Prostitution is illegal in the State of California.             (See, e.g.,

   Cal. Penal Code § 647(b).)

          16.   Sex trafficking of juveniles or any person by means of

   force, fraud or coercion, is a violation of 18 U.S.C. § 1591, an

   SUA.

      IV.       DIGITAL CURRENCY/BITCOIN

          17.   Digital currency (also known as crypto-currency) is

   generally defined as an electronic-sourced unit of value that

   can be used as a substitute for fiat currency (i.e., currency

   created and regulated by a sovereign government).            It exists

   entirely on the Internet and is not stored in any physical form.

   It is not issued by any government, bank, or company, but is

   instead generated and controlled through computer software

   operating on a decentralized peer-to-peer network.            Digital

   currency is not illegal in the United States and may be used for

   legitimate financial transactions.          However, it is often used to

   conduct illegal transactions, such as the sale of controlled

   substance, or as in this investigation, to purchase ads to

   promote prostitution.

          18.   Bitcoin is a type of digital currency accepted by

   Backpage.    Bitcoin payments are recorded on a public ledger that

   is maintained by peer-to-peer verification, and is thus not

   maintained by a single administrator or entity.            Individuals can

   acquire Bitcoins either by “mining” them or purchasing Bitcoins

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   from other individuals.       An individual can “mine” Bitcoins by

   allowing his/her computing power to verify and record the

   Bitcoin payments into a public ledger.          Individuals are rewarded

   for this by being given newly created Bitcoins.            Bitcoins can be

   bought and sold in fractions.

         19.    Backpage also accepts other digital currencies,

   including Litecoin, Bitcoin Cash, and Ether.           Sometimes called

   “alt-coins,” because they are alternatives to Bitcoins, these

   digital currencies were created after Bitcoin to address

   perceived weaknesses or problems with Bitcoin technology.              Based

   on my review of Backpage transactions, the majority of

   Backpage’s digital currency transactions are in Bitcoin.

         20.    An individual can send and receive Bitcoins through

   peer-to-peer digital transactions or by using a third-party

   broker.     Such transactions can be done on any type of computer,

   including laptop computers and smart phones.

         21.    Digital currency is generally stored in digital

   “wallets,” which essentially store the access codes that allows

   individuals to conduct digital currency transactions on the

   public ledger.     To access digital currency on the public ledger,

   an individual must use a public address (or “public key”) and a

   private address (or “private key”).         The public address can be

   analogized to a bank account number, while the private key is

   like a password used to access an online account.

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         22.   Even though the public addresses of those engaging in

   Bitcoin transactions are recorded on the public ledger, the true

   identities of the individuals or entities behind the public

   addresses are not.      If, however, an individual or entity is

   linked to a public address, it would be possible to determine

   what transactions were conducted by that individual or entity.

   For these reasons, digital currency transactions are described

   as “pseudonymous,” meaning they are partially anonymous.

      V. STATEMENT OF PROBABLE CAUSE

            A. Buying a Backpage Ad

         23.   In February 2018, I visited Backpage.com and, posing

   as an advertising purchaser, engaged in the regular process of

   posting an ad in the Backpage “Dating” section, which is one of

   the places on Backpage.com where prostitution ads are commonly

   found.   Through this process, I learned the following:

               a.    A person looking to post an advertisement on

   Backpage (an “advertiser”) must first create an account.              Once

   an account is created, the advertiser clicks on a link called

   “Post an ad,” which will then toggle certain categories

   regarding where the ad should be posted (e.g., “Los Angeles,”

   “Riverside,” etc.) and under what category the ad should appear

   (e.g., “Dating,” “Adult,” etc.).         The advertiser also has the

   option to post pictures and videos.         In the adult sections,

   opting to post in more than one geographical area, or opting to

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   post more frequently occurring ads will increase the

   advertisement price.      Currently, Backpage.com charges $5 per ad

   posted in the adult sections.        In some of the non-adult and non-

   dating sections I checked, there was no charge at all to post an

   ad.

               b.    Once an advertiser selects the desired options,

   he or she is required to enter a phone number, a link to a

   social media page (such as Facebook), and an email address.              The

   Backpage website claims to verify the advertiser’s phone number

   before he or she can continue on to actually purchasing an ad.

               c.    In order to pay for Backpage ads, an advertiser

   must first buy “credits.”       Backpage offers several ways for an

   advertiser to acquire credits:

                    i.     A Backpage advertiser may mail gift cards,

   checks, and money orders to “Posting Solutions” at a P.O. Box in

   Dallas, Texas (as further described below, this P.O. Box is

   associated with Posting Solutions and SUBJECT ACCOUNT 1). 6



    6 I have reviewed the cash purchase of USPS money orders
   subsequently directed to this P.O. Box. Between September 2014
   and June 2016, several millions of dollars in money orders were
   purchased in what appears to have been structured transactions
   (i.e., transactions carried out in a manner intended to avoid
   certain reporting requirements that USPS maintains for money
   order purchases greater than $3000). Based on my review,
   hundreds of these money orders include email addresses with
   words consistent with prostitution, such as “sex” or “sexy.”
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  Case                  *SEALED*
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                              Document 8-2 3-1  *SEALED*
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                    ii.         Backpage directly accepts credit card

   payment through a third-party credit card payment processor.

                iii.           Backpage also accepts several types of

   digital currency (specifically, Backpage accepts Bitcoin,

   Bitcoin Cash, Litecoin, and Ethereum).          If the advertiser

   selects this option, Backpage provides a digital currency wallet

   address where the advertiser can send the electronic transfer of

   the digital currency.

                    iv.        Backpage also accepts cash, but only through

   third party payment processors.         Based on information gathered

   during this investigation, I believe that once the third-party

   payment processor receives cash, it converts the cash into

   digital currency and then electronically transfers that digital

   currency to a Backpage digital currency wallet.

         24.   Digital Currency is processed through the subject

   accounts in the following way:

               a.         When Backpage receives digital currency, it will

   aggregate the digital currency and then transfer it to a third-

   party exchanger like GoCoin. 7




    7 GoCoin is a digital currency exchanger that converts Bitcoin,
   Litecoin and another digital currency into fiat currency, like
   the U.S. Dollar or the Euro. GoCoin is owned by Manx
   Broadcasting Corporation, based in the Isle of Man. GoCoin has
   offices in Singapore and Santa Monica, California and appears to
   hold bank accounts in several countries outside the United
   States.
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               b.    In exchange for the digital currency, the exchanger

   transfers U.S. dollars from its foreign bank accounts into

   Backpage operating accounts, such as SUBJECT ACCOUNT 1.              The

   exchanger, if it so elects, may then sell its Bitcoin on various

   Bitcoin markets.

         25.   I reviewed records obtained from GoCoin.          From this

   review, I estimate that between 5 to 10 percent of the ads posted

   on Backpage.com are ads within the Central District of California

   (including Los Angeles and Orange Counties).           For example, between

   January 10 and February 3, 2016, approximately 500,000 ads were

   posted on Backpage.com and paid for with Bitcoin, for which

   Backpage received over $3,840,000 in revenue.           Of these

   approximately 500,000 ads, approximately 28,400 were posted only

   in LosAngeles.Backpage.com, Ventura.Backpage.com,

   SanLuisObispo.Backpage.com, OrangeCounty.Backpage.com, and

   SanGabrielValley.Backpage.com.        These specific ads generated

   approximately $184,479 in revenue.

            B. Backpage Promotion of Prostitution and Sex Trafficking

         26.   I have reviewed several Backpage ads that were used to

   sell minors for sex and forcibly traffic adult women for sex.               I

   have also reviewed the criminal records of certain of the pimps

   and sex traffickers, most of whom were convicted after having used

   Backpage to advertise their victims.          From this review, I learned

   the following:

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               a.     Between 2014 and 2015, a pimp sold S.F., a minor

   girl, for sex.     The pimp advertised S.F. on Backpage’s “Escort”

   section in the Los Angeles area of California and in Arizona.               The

   ad contained phrases such as “New In Town” and “Sexy Dark Asain

   Bombshell with a Nice & Tight {Booty}.”          The ad selling S.F. on

   Backpage included multiple pictures showing her legs, stomach,

   shoulders and buttocks.       Later, the pimp was arrested and

   convicted on state sex trafficking charges, and sentenced to 196

   years imprisonment.

               b.     Between 2014 and 2015, the same pimp sold A.C., a

   minor girl, for sex.      In November 2014, at the age of 17, A.C. was

   first sold for sex through a Backpage ad using phrases such as

   “NEW IN TOWN,” “sexy sweet,” and “sweet like honey but super hot

   like fire.”      The Backpage ad selling A.C. included pictures of her

   showing her legs, stomach, shoulder, and buttocks, and posed her

   in sexually provocative positions.

               c.     Between November 2015 and December 2015, in a

   different incident, a pimp drove two women and four minor girls

   (T.S., S.L., K.O., and R.W.) from Columbus, Ohio to a hotel in St.

   Charles, Missouri.      The next day, the pimp told the girls to post

   ads on Backpage.com.      Some of the girls took calls and engaged in

   paid sex acts with Backpage customers who responded to the ads.

   The ads the girls posted included pictures of them sitting on the

   bed showing their buttocks.        Another image I saw was of a naked

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   girl’s body pressed against a mirror.          Other pictures appeared

   more mundane, such as images of girls posing clothed in front of a

   mirror.    However, these ads used phrases like “I’m sweet as a

   treat maybe even sweeter” and “not a lot need to be said. my pic

   are 100% real.”     In 2017, this pimp was convicted on sex

   trafficking charges and a federal court sentenced him to 300

   months in prison.

               d.    In or around 2010, in Washington, J.S., a minor

   girl, was sold for sex through the use of Backpage ads.              J.S.’s

   pimp drafted the ads that were placed a Backpage that contained

   words and phrases such as, “W’E’L’L_W’O’R’T’H_I’T***^***150HR” and

   “IT WONT TAKE LONG AT ALL.”        The ads also included pictures of

   J.S. in provocative positions showing her breasts and buttocks.

   On March 29, 2011, the pimp who sold J.S. for sex was sentenced to

   over 26 years imprisonment on charges related to sex trafficking.

               e.    Between in or around 2011 and 2016, a female

   victim, D.O., who was between the ages of 14 and 19 during those

   years, was sold for sex through Backpage ads.           D.O.’s female pimp

   instructed D.O. that Backpage was the safest place to advertise

   because Backpage did not require age verification.            D.O.’s

   Backpage ads included words and phrases that were indicative of

   prostitution, such as “roses” (money) and “back door” (anal sex).

   Some of the customers who responded to D.O.’s Backpage ads forced

   D.O. to perform sexual acts at gunpoint, choked her to the point

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  Case                  *SEALED*
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   of having seizures, and gang-raped her. 8

         27.   I have reviewed documents and reports from multiple

   state and government agencies and authorities regarding Backpage’s

   promotion of sex trafficking and prostitution.            From these

   reports, and from my review of internal Backpage correspondence

   following Backpage management receiving these reports, I am aware

   that all levels of Backpage management are aware of Backpage’s

   role in promoting criminal activity.          For example:

               a.    On September 21, 2010, a group of state attorneys

   general wrote a letter to Backpage observing that “ads for

   prostitution—including ads trafficking children—are rampant on the

   site,” and arguing that “[b]ecause Backpage cannot, or will not,

   adequately screen these ads, it should stop accepting them


    8 Using these examples, I also reviewed financial transactions
   for some of these ads. Using email addresses and other
   identifiers associated with the Backpage ads, I reviewed GoCoin
   records for some of these transactions. From these records, I
   found bitcoin payments associated with the email addresses used
   to post the ads, which transactions were processed by GoCoin.
   For example, in the case involving victims S.F. and A.C.
   (described in paragraphs 28(a) and (b)) prosecuted in Arizona,
   the bitcoin payments for these ads were made in November and
   October 2015.   In the case involving T.S., S.L., K.O., and R.W.
   (described in paragraph 28(c)) prosecuted in Missouri, the
   bitcoin payments were made in October and November 2015. As
   described in paragraph 48 of this affidavit, between December
   2015 and June 2016, over 130 wires from Slovakia from GoCoin,
   totaling over $16.8 million was sent to a Website Technologies
   account at Branch Bank & Trust Company account number
   1440001712008. Between December 2015 and October 2016, 32 wires
   totaling $48 million were sent from the BBT Account to a Cereus
   Properties Account 9361116211 at Arizona Bank and Trust, which
   made its way into 11 accounts named in prior seizure warrants.
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   altogether.”     The state AGs acknowledged that this step would

   cause Backpage to, ”lose the considerable revenue generated by the

   adult services ads,” but stated that “no amount of money can

   justify the scourge of illegal prostitution, and the misery of the

   women and children who will continue to be victimized in the

   marketplace provided by backpage.”

               b.    Following this letter, on September 25, 2010,

   Ferrer wrote an email explaining that Backpage was unwilling to

   delete ads that included terms indicative of prostitution because

   doing so would “piss[] off a lot of users who will migrate

   elsewhere” and force Backpage to refund those customers’ fees.

               c.    In January 2017, the U.S. Senate Subcommittee on

   Permanent Investigations (“Subcommittee”) conducted a lengthy

   investigation into sex trafficking and Backpage.            I have reviewed

   the Subcommittee’s 50-page report entitled “Backpage.com’s Knowing

   Facilitation of Online Sex Trafficking.”          This report concluded,

   among other things, that virtually all of Backpage’s “adult” ads

   are actually solicitations for illegal prostitution services and

   that “Backpage has maintained a practice of altering ads before

   publication by deleting words, phrases, and images indicative of

   criminality, including child sex trafficking . . . .             Those

   practices served to sanitize the content of innumerable

   advertisements for illegal transactions—even as Backpage

   represented to the public and the courts that it merely hosted

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   content others had created.”        In response to the Subcommittee’s

   report, Backpage purported to shut down the “adult” section of its

   website.    However, based on my review of several thousands of

   Backpage ads, I believe that the prostitution ads simply migrated

   to other sections of the website, where they remain to this day.

               d.    On August 5, 2011, Backpage received a letter from

   the mayor of Seattle.       This letter warned, “Seattle Police have

   identified an alarming number of juvenile prostitutes advertised

   on Backpage.com since January 2010,” and explained that Backpage

   was dissimilar from other companies whose products and services

   are “occasionally or incidentally” utilized by criminals because

   “[y]our company is in the business of selling sex ads” and “your

   services are a direct vehicle for prostitution.”            The letter also

   recommended that Backpage require in-person age verification for

   all of the “escorts” depicted in its ads.           Based on knowledge

   gained through this investigation, I do not believe that Backpage

   has ever instituted an in-person age verification.

         28.   I have reviewed internal documents, emails, and

   correspondence among Backpage employees and management.              From

   those emails I have learned that Backpage has instituted policies

   and procedures designed to maintain its promotion of sex

   trafficking and prostitution, but which “sanitize” some of the

   language Backpage customers use to advertise in order to make the

   advertising of sex trafficking less overt.           From my review of

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   Backpage documents, I know that Backpage refers to this practice

   as “moderation.”      For example:

               a.    In April 2008, Ferrer wrote an email explaining

   that, although he was “under pressure to clean up phoenix’s adult

   content,” he was unwilling to delete prostitution ads because

   doing so “would put us in a very uncompetitive position with

   craig[slist]” 9 and result in “lost pageviews and revenue.”             Thus,

   Ferrer instructed Backpage’s technical staff to edit the wording

   of such ads by removing particular terms that were indicative of

   prostitution, and then allow the remainder of the ad to be

   featured on Backpage’s website.

               b.    On October 8, 2010, a Backpage manager sent an

   email threatening to fire any Backpage employee who acknowledged,

   in writing, that a customer was advertising prostitution:

   “Leaving notes on our site that imply that we’re aware of

   prostitution, or in any position to define it, is enough to lose

   your job over. . . .      This isn’t open for discussion. If you don’t

   agree with what I’m saying completely, you need to find another

   job.”

               c.    On October 16, 2010, the same Backpage manager

   again sent an email to a large group of Backpage employees that




    9 Craigslist is a competing internet based advertising company
   that features classified ads.
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   contained two attachments providing guidance on how to “moderate”

   ads.   The first was a PowerPoint presentation that displayed a

   series of 38 nude and partially-nude photographs, some of which

   depicted graphic sex acts.        Next to each picture was an

   instruction as to whether it should be approved or disapproved by

   a Backpage moderator.       These instructions included “Approve.          Nude

   rear shots are okay as long the model is not exposing her anus or

   genitalia.” and “Approve.       Rear shot okay.      Transparent wet

   panties okay.”     The second was an Excel spreadsheet identifying 50

   terms (all of which were indicative of prostitution) that should

   be “stripped” from ads before publication.           The Backpage manager

   concluded the email by stating, “[I]t’s the language in ads that’s

   really killing us with the Attorneys General.           Images are almost

   an afterthought to them.”

               d.    On October 16, 2010, the same Backpage manager sent

   a separate internal email explaining, “I’d like to still avoid

   Deleting ads when possible,” that “we’re still allowing phrases

   with nuance,” and that “[i]n the case of lesser violations,

   editing should be sufficient.”

               e.    On October 25, 2010, Ferrer sent an email

   acknowledging that the “[i]llegal content removed” through

   Backpage’s moderation processes was “usually money for sex act.”

   This email also explained that, after the “sex act pics are

   removed,” the “ad text may stay.”

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               f.    On October 27, 2010, a different Backpage manager

   sent an internal email stating that Backpage was “editing 70 to

   80%” of the ads it received from customers.

               g.    On June 7, 2011, Ferrer received an inquiry from a

   law enforcement official about a particular ad that included the

   term “amber alert.”      In response, Ferrer acknowledged this might

   be “some kind of bizarre new code word for an under aged person.”

   Ferrer then forwarded this exchange to a Backpage manager and

   instructed that the term “amber alert” be added to Backpage’s

   “strip out” list.      I believe that this email indicates that

   Backpage did not require all future ads involving this particular

   coded term for the prostitution of a child to be blocked from

   Backpage, but merely required that such ads be edited before

   publication.

               h.    On August 31, 2011, Backpage managers exchanged

   emails in which they discussed a list of 100 “solid sex for money

   terms.”    Later emails indicate that this list of terms would

   change but, in general, the list prohibited use of certain terms

   that Backpage management and employees too closely identified with

   the obvious promotion of sex trafficking and prostitution.

               i.    Based on knowledge gained during this investigation

   and my training and experience, I believe that this manager

   acknowledged that a large proportion of the ads originally

   submitted by Backpage’s customers contained text and pictures that

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   were indicative of sex trafficking.         Nevertheless, Backpage would

   still publish those ads after editing them to appear less obvious

   in promoting illegal activity.        Using the words the Backpage

   manager used in the email described in paragraph 28(d) above, I

   believe that Backpage sex trafficking ads have adapted to

   Backpage’s moderation policy by using “phrases with nuance” when

   promoting sex trafficking.        Also, based on knowledge gained during

   this investigation, and my training and experience, I believe

   that, following the implementation of “moderation,” Backpage’s

   list of prohibited terms needed to change and evolve to adjust to

   the reality of Backpage advertisers’ use of new code words to

   promote prostitution.       That is, once a coded word or phrase not

   previously associated with sex-for-money would become too familiar

   and associated with certain sex trafficking activities in the

   Backpage community of advertisers, Backpage’s “moderation” policy

   would need to adapt by adding such words or phrases to the

   “blocked” list or risk being too obvious in its promotion.

         29.   Based on my review of several thousand Backpage ads and

   internal Backpage documents and correspondence, I believe that

   Backpage’s policy of “moderation” only caused ads explicitly

   promoting sex trafficking to become more coded and implicit in the

   ads’ purpose.     I have reviewed several thousand Backpage ads

   posted in the various “adult” categories of Backpage (including

   “massage,” “dating,” “escort” and others).           From this review, I

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   learned the following:

               a.    Well over half of the Backpage classified ads in

   these categories use terms and phrases that, in my training and

   experience, I believe to be consistent with sex trafficking and

   prostitution.     These terms and phrases include, “roses” (money,

   e.g., “150 roses/half hour”), “in-call” (where the customer goes

   to the prostitute’s location), “outcall” (where the prostitute

   goes to the customer’s location), “GFE” (girlfriend experience),

   and “PSE” (porn star experience).

               b.    Other Backpage ads use language that can be mostly

   free of coded language, but that include sexually provocative

   pictures.    In my training and experience, the sexually suggestive

   images included in these ads are typical of ads for prostitution.

   For example, one such ad posted in Backpage’s Los Angeles dating

   section depicted images of a woman on a bed with her buttocks

   presented in a sexual manner; another included a picture of a

   woman’s cleavage; others included pictures of women posing in

   sexual positions wearing lingerie and pictures of a woman bending

   over revealing her naked buttocks.

               c.    Based on knowledge gained through this

   investigation, and my training and experience, I believe that

   Backpage’s policy of moderation has had its intended effect.

   Moderation has caused and allowed otherwise neutral or innocuous

   terms to be understood within the Backpage community as coded

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   language for sex trafficking and prostitution.            Because of this

   evolving use of coded terms, a reader of such ads who is familiar

   with the particular vocabulary used in Backpage “adult” ads may

   readily identify coded terms and images indicating an ad for

   prostitution, while an uninitiated reader may not understand these

   terms at all, or at least not as being associated with sex-for-

   money.

         30.   Notwithstanding many Backpage advertisements’ use of

   seemingly innocuous language in promoting prostitution, based on

   my conversations with law enforcement officers around the country

   and from my review of law enforcement officers’ statements and

   reports regarding Backpage, I believe that the majority of

   Backpage ads that appear in the traditionally “adult” categories

   (such as “escort,” “massage,” or “body rubs”) are actually

   advertisements promoting sex trafficking or prostitution.              For

   example, in August 2015, the Detective-Sergeant in charge of the

   Seattle Police Department’s Vice/High Risk Victims Unit and Human

   Trafficking Task Force made a sworn statement that provided, in

   pertinent part,

      Since 2014, the Seattle Police Department has made arrests
      that include hundreds of related charges, such as charges
      for patronizing a prostitute/sexual exploitation, hundreds
      of charges for prostitution, dozens of charges [of]
      Promoting Prostitution, up to 100 charges for Commercial
      Sexual Abuse against a Minor and have investigated dozens
      of rape reports involving victims who are prostitutes and
      one murder of a prostitute. As a result of hundreds of
      investigations, the Seattle Police Department Vice/High

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      Risk Victims Unit has found that Backpage.com has become
      the primary web site in Seattle/Washington State for those
      looking to solicit a prostitute, post prostitution ads or
      traffic prostitutes and minors.

      Vice/High Risk Victims Unit Detectives also make use of
      this site to respond to ads posted under the ‘escorts’ and
      ‘body rubs’ categories posing as male customers and
      successfully arrest females and males who charge
      undercover operatives money in exchange for sex. To date,
      no Detective within the Seattle Police Department’s
      Vice/High Risk Victims Unit has ever found a legitimate
      ‘escort’, (person who charges simply for companionship
      with no offer of sex) or ‘masseuse’, (person offering
      legitimate and licensed massage therapy rather than sex)
      while responding to ads placed in these categories on
      Backpage.com.

      As stated previously, every time the Seattle Police
      Department Vice/High Risk Victims Unit has responded to an
      ad in the adult section of Backpage.com, we have found
      that the ad was a posting for illegal activity. The
      Seattle Police Department Vice/High Risk Victims Unit has
      not once found that the individual posting or responding
      to one of our decoy ads in the adult section of
      Backpage.com was in fact seeking any type of innocent,
      legal activity. In my professional experience, the adult
      section of Backpage.com not only contains ads for illegal
      activity, including prostitution, solicitation and
      trafficking, but it is a primary source for such ads and
      is well known for that purpose in the sex trafficking
      industry in the city of Seattle and State of Washington.

   Additionally, in August 2015, the Sergeant Detective who is

   Commander of the Human Trafficking Unit (“HTU”) for the Boston,

   Massachusetts Police Department made a sworn statement that

   provided, in pertinent part,

      Since 2009, the [HTU] has made numerous arrests that
      include enticement of a minor into prostitution, sex
      trafficking of a minor, sex trafficking of an adult,
      forcible rape . . . and sex for a fee for soliciting a
      prostitute.


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      As a result of investigations, the HTU has found that
      Backpage.com is the go-to Web site in Boston for those
      looking to solicit a prostitute, post prostitution ads,
      and recruit and traffic young women and minors. The
      detectives have been able to identify numerous would-be
      exploiters by setting up decoy ads and responding to ads
      on the site. The have arrested pimps, traffickers and
      buyers who facilitate prostitution and fuel the harmful
      and violent sex trade. Backpage.com is the number one
      site that detectives go to in order to look for underage
      girls who are on the run and are being commercially
      sexually exploited by pimps.

      Since 2010, the HTU has arrested over 100 buyers of sex of
      both adults and minors through Backpage.com ads
      exclusively in hotel stings.

      Since 2013, 12 individuals have been charged in federal
      court for sex trafficking of both minors and adults. In
      all these aforementioned cases, Backpage.com played a
      pivotal role in facilitating these crimes.

      Detectives of the HTU often get tips about illegal
      activity concerning ads posted on the escort, adult and
      massage sections of Backpage.com. In almost every case
      detectives have found that in fact there was illegal
      activity which resulted in fines, arrests, or further
      investigations of sex trafficking.

      Therefore, in my professional experience as a law
      enforcement officer for over thirty years, the adult
      section of Backpage.com not only contains ads for illegal
      activity, including prostitution, solicitation and
      trafficking, but it is also the primary source for such
      ads and well known for that purpose in the sex trafficking
      industry in Boston, Massachusetts. Backpage.com’s adult
      section provides a vehicle and anonymity for its users who
      exploit and traffic young women and girls. . . . It is my
      humble opinion that the adult section of Backpage.com
      serves no legitimate service and nearly all the cases we
      find associated with it involve pimp controlled
      prostitution.

         31.   Almost all “adult”-type Backpage ads list phone numbers

   or emails for a potential customer to use to make contact with the


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   advertiser.      I have compared a sample of phone numbers and emails

   found within Backpage ads with phone numbers and emails that

   frequently are included in the memo section of some of the checks

   that Backpage advertisers use to pay Backpage for those ads.               From

   my review, I have found that very often the same number and/or

   email appears in multiple Backpage ads as the contact information

   to make an appointment.       For example:

               a.     A $25 USPS Money Order purchased on June 15, 2017,

   in Duarte, California, made payable to “Posting Solutions PO BOX

   802426, Dallas, TX,” and thereafter deposited into a Seized

   Account, included writing on the money order listing a phone

   number and the words “Dulce Latina.”          From a search of Backpage

   ads, I found almost 800 advertisements listing the same phone

   number found on the $25 USPS Money Order.

               b.     A $20 USPS Money Order purchased in Sacramento,

   California, and later deposited into a Seized Account, included

   writing listing a phone number and the words “love my lips.”               From

   a search of Backpage ads, I found almost 1300 advertisements

   listing the same phone number found on the $20 USPS Money Order.

               c.     A $150 Wells Fargo Bank Money Order, purchased in

   Arizona, and made payable to “Posting Solutions,” included an

   email and the words, “red hot stuff”.          From an internet search of

   the email address listed on this $150 money order, I found

   advertisements on several female escort websites that directed

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   customers to contact an Arizona phone number ending in 2397.               I

   then searched Backpage.com records for this phone number and found

   approximately 760 ads that included this same phone number.              My

   review of these Backpage ads revealed images indicative of

   prostitution.     For example, one such ad posted on Backpage’s

   “massage” section included sexual images such as a woman lying on

   a bed wearing lingerie and a woman laying naked on her stomach.

   One of the ads describes, “Pampering provider | Body Rub Massage |

   Body Shampoo | Body Scrub | 4 hands | Walk ins or appointment.”

   From my training and experience, I know that legal massage

   advertisements do not typically depict sexual images.             This

   advertisement depicted sexual images and included terms like “4

   hands,” which I know to be coded language describing a massage

   given to a customer by two women.         Such advertisements are often

   indicative of prostitution.

         32.   Despite the fact that several thousand Backpage ads

   shared the exact same phone number or email address to contact the

   advertiser, these same ads included sexually suggestive images of

   hundreds of different women.        Based on my training and experience,

   multiple different women do not share the same email address or

   phone number when posting ads for dating.           Rather, in my training

   and experience, such ads are consistent with ads posted by pimps

   or prostitution agencies that are using the same phone number or

   email to advertise several different women (or girls) to

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   prospective prostitution clients.

         33.   On March 28, 2018, a grand jury returned a 93 count

   indictment charging certain Backpage Operators with criminal

   violations of 18 U.S.C. § 371 (Conspiracy), § 1952 (Travel Act—

   Facilitation of Prostitution), § 1956 (Money Laundering), § 1957

   (Financial Transactions Involving Illicit Proceeds), and including

   Forfeiture Allegations pursuant to 18 U.S.C. §§ 981 and 982

   (seeking criminal forfeiture of, among other assets, the Seized

   Accounts and the Seized Domains).         A copy of that indictment is

   attached hereto (as Exhibit A) and incorporated herein as though

   fully set forth.

            C. THE SEIZED ACCOUNTS AND SUBJECT ACCOUNTS 10

            1. Seized Account 1

                 i. Foreign Transfers Into SEIZED ACCOUNT 1

         34.   While Backpage accepts payments for ads from third-

   parties, for the purpose of this affidavit, I will focus on

   advertising payments made via the Posting Solutions’ P.O. BOX

   using cash, money orders, or digital currency.

         35.   From my review of Posting Solutions’ application for the

   USPS Dallas, Texas P.O. BOX, I learned that it was registered to




   10Because of the extensive movement of money by the Backpage
   operators, it is necessary to include here a discussion of both the
   accounts targeted in the prior warrant applications (referred to
   herein as Seized Accounts 1 through 15G, and the SUBJECT ACCOUNTS.
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   “Website Technologies, LLC/Backpage.com.”           Also listed on the P.O.

   BOX Application were the names of several Backpage Operators,

   including Ferrer.

         36.   I have reviewed bank records for Seized Account 1.

   Based on my review, I know the following:

               a.    On February 15, 2017, Posting Solutions LLC,

   located at 13601 Preston Rd., Ste. 801E, Dallas, Texas 75240,

   opened Prosperity Bank account number 216887188 (Seized Account

   1, which lists Gage as the sole signatory on the account).

               b.    Gage is the President, Chief Executive Officer,

   Treasurer and Secretary of Posting Solutions LLC.

         37.   Based on my knowledge of this investigation, having

   spoken to law enforcement personnel, and my review of the

   financial records, when an advertiser purchases an ad for

   prostitution using digital currency, the payments to Backpage (and

   certain subsequent expenditures) then proceed in the following

   manner:

               a.    A “poster” of a prostitution ad on backpage.com

   would pick a payment method, for example, through Bitcoin payments

   as previously described above.

               b.    The poster would already have Bitcoin or Backpage

   would direct the poster to a third-party exchanger in order to buy

   Bitcoin.

               c.    Backpage would then provide the poster with a

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   wallet address to send the specific amount of Bitcoin.

               d.    The poster would receive credit to then post ads on

   Backpage.

               e.    In batches, generally valued in hundreds of

   thousands of dollars, Backpage would sell the Bitcoin to a third

   party exchanger, frequently “GoCoin,” in order to convert the

   Bitcoin into U.S. or foreign currency, which GoCoin generally

   holds in foreign bank accounts.

               f.    GoCoin would wire funds from these foreign accounts

   to either 1) Backpage controlled foreign accounts, or 2) Backpage

   controlled domestic operating accounts.

               g.    Backpage operators would hold these receiving

   accounts in the names of entities controlled by Backpage, such as

   Ad Tech BV, Posting Solutions (Seized Account 1 is held in the

   name of Posting Solutions), Website Technologies, or Cereus

   Properties (Seized Account 2A is held in the name of Cereus

   Properties).

               h.    These funds that originated from foreign

   transactions would be used to pay for services, like Verizon in

   Los Angeles, or would be transferred to Backpage Operators’

   accounts and accounts held in their family members’ names.

         38.   I have reviewed records of wire transfers from countries

   outside the United States deposited into the Seized Account 1.

   Just for the period of August 1 through September 1, 2017, Seized

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   Account 1 received over $2.7 million in wire transfers from

   outside the United States.        For example:

               a.    On or about August 16, 2017, a company called

   “Binary Trading SG PTE LTD” (“Binary Trading”) wired $535,500 from

   an account in Singapore into Seized Account 1.            Based on my review

   of records related to this transaction, Binary Trading is a name

   used by GoCoin. 11

               b.    On or about August 17, 2017, Binary Trading wired

   another $528,500 from a Singapore account into Seized Account 1.

               c.    On or about August 30, 2017, a company named

   “TRILIX PTE LTD,” listing the same Singapore address as Binary

   Trading and GoCoin, in four wires ranging from $385,450 to

   $492,250, sent approximately $1,717,750 from a Singapore account

   into Seized Account 1.       Memo lines from these wires list “GC” or

   “GC FOR INTERNET SERVICES.”        I understand “GC” to mean GoCoin.

                ii. Seized Account 1 Payments for Backpage Operations

         39.   I have reviewed outgoing payments from Seized Account 1

   and found that substantial percentages of these payments are for

   the operation of Backpage.com.        For example, between July and

   October, 2017, Seized Account 1 wired over $1.1 million to pay for

   the following:




    11  Further, according to GoCoin’s website, GoCoin maintains
   offices at the Singapore address listed on the $535,500 wire
   from “Binary Trading.”
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               a.     Between July and October 2017, Seized Account 1

   wired $570,530 to Verizon Digital Media Services in Los Angeles.

               b.     On August 4, 2017, Seized Account 1 wired $4,137 to

   “Netnames,” also known as ASCIO, to pay for the registration

   renewal of all the Seized Domains, including Backpage.com.

               c.     In August 2017, Seized Account 1 sent numerous

   automated clearinghouse payments to “Netchex Tax Prep Clients”

   totaling over $437,000.       From a review of their website, I learned

   Netchex is a human resources company that provides payroll and

   other such services to Backpage.

               d.     Within a one-week period beginning on August 2,

   2017, Seized Account 1 wired approximately $77,800 to S&W Payroll

   Services.     An online search of S&W Payroll indicated that S&W

   Payroll is owned by Netchex.        As stated above, Netchex is a human

   resource service, and S&W Payroll appears to be Netchex’s payroll

   division.

               e.     On August 11, 2017, Seized Account 1 wired

   $5,319.79 to the Telesign Corporation, located in Marina del Ray,

   California.      According to their website, Telesign is a

   communications platform that delivers security for websites.

               f.     On August 18, 2017, Seized Account 1 wired $1,497

   and $6,984, respectively, to two separate data backup companies

   for Backpage’s on-line data backup.

         40.   Based on my review of bank records for Seized Account 1

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   throughout the existence of the account, these types of

   transactions and expenditures were typical.

              2. Seized Account 2A

                  i. Transfers From Seized Account 1

         41.    From my review of bank documents, I have learned that

   Seized Account 2A is a Compass Bank business bank account owned

   by “Cereus Properties LLC,” identifying Spear as the sole

   signatory.     My review revealed that this account was funded with

   transfers from Seized Account 1.         On average, during each month

   of 2017, Seized Account 1 transferred several hundred thousand

   dollars into Seized Account 2A.         For example:

         a.     On July 25, 2017, Seized Account 1 sent two wire

   transfers totaling about $566,562.47 to Seized Account 2A.

         b.     On August 8, 2017, Seized Account 1 sent a wire

   totaling $62,198.51 to Seized Account 2A.

         c.     On August 31, 2017, Seized Account 1 sent a wire

   transfer totaling $487,491.45 to SU Seized Account 2A.

         d.     On September 15, 2017, Seized Account 1 sent a wire

   transfer totaling $91,672.67 to Seized Account 2A.

         e.     On October 2, 2017, Seized Account 1 sent a wire

   transfer totaling $471,766 to Seized Account 2A.

                 ii.   Foreign Transfers into Seized Account 2A

         42.    I have reviewed financial records from a foreign bank

   in the Netherlands (the “Foreign Account”).           I have also

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   reviewed emails related to this account.          From my review of

   these records, I learned the following:

               a.    The Foreign Account was opened in March 2015 and

   is held in the name of Ad Tech BV, a Netherlands based company,

   and identifies Ferrer as the CEO and Gage as the CFO.

               b.    From March 2015 through November 2017, the

   Foreign Account received millions of dollars from Binary Trading

   SG PTE, Limited, the same company GoCoin used to wire funds into

   Seized Account 1.      In an April 4, 2017, email to employees of

   the bank that maintains the Foreign Account, Gage explained,

      Binary Capital is our trading partner, they hold money in
      trust for Go Coin [sic]. Rather than incurring 3 sets of
      wire fees which make our transactions unprofitable, they
      act as our agent and disburse payments directly from our
      trust account to our merchant.

               c.    During this same period, the Foreign Account wire

   transferred several million dollars into Seized Account 2A.              For

   example, an April 25, 2017, an email from Gage to individuals at

   the bank holding the Foreign Account directed the bank to wire

   “USD $2,337,048” to Seized Account 2A.          Thereafter, I reviewed a

   wire record and confirmed that on April 25, 2017, the Foreign

   Account wired $2,337,048 into Seized Account 2A, as Gage

   directed in his email.       In reviewing the records, I found the

   following additional wires sent to Seized Account 2A:

                    i.     In December 2016, the Foreign Account wired

   approximately $1 million dollars to Seized Account 2A.

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                   ii.      On February 28, 2017, the Foreign Account

   wired $2,324,390 into Seized Account 2A.

                 iii.       On March 30, 2017, the Foreign Account wired

   $2,247,858 into Seized Account 2A.

                   iv.      On May 31, 2017, the Foreign Account wired

   $2,335,076 to SUBJECT ACCOUNT 2A.

                    v.      On June 28, 2017, the Foreign Account wired

   $2,324,390 to Seized Account 2A.

                   vi.      July 27, 2017, the Foreign Account wired

   $10,928 to Seized Account 2A.

            iii.         Seized Account 2A Payments for Backpage Operations

         43.   I then reviewed Seized Account 2A records for payments

   to promote Backpage operations.         From March through December

   2017, Seized Account 2A paid over $9,000 to “Cox

   Communications,” an internet services company that provides

   voice-over-internet phone and cable services.           I believe that

   Backpage uses Cox Communications to facilitate its internet

   presence and promote its sale of prostitution advertising.

            3. Seized Account 2B

         44.   I reviewed records Seized Account 2A and Seized

   Account 2B.     On February 2, 2018, Seized Account 2A wired

   transferred $135,956.59 into Seized Account 2B.            I am aware of

   no other funding sources for Seized Account 2B.



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             4. Seized Account 3A, 3B, 3C

         45.    I have reviewed records for Seized Account 3A as well

   as the following accounts:        Branch Banking & Trust account

   number 1440001712008, belonging to Website Technologies (as

   detailed above, a Backpage controlled entity), held in Arizona

   (“BBT Account”); Arizona Bank & Trust account number 9361116211

   belonging to Cereus Properties, held in Arizona (“AZBT

   Account”).    From this review, I learned the following:

                a.   Between December 14, 2015, and January 15, 2016,

   in approximately 26 wires, a GoCoin account in Slovakia

   transferred over $2.5 million to the BBT Account in the United

   States.

                b.   On January 15, 2016, the BBT account wired

   $189,571 to Verizon in Los Angeles, California, in payment for

   Backpage internet services.

                c.   Between January 21, 2016, and August 31, 2016, in

   approximately 27 wires, the BBT Account transferred

   approximately $48 million to the AZBT Account.

                d.   Between March 1, 2016, and July 1, 2016, the AZBT

   Account wired $892,426 into Seized Account 3A.

         46.    According to records for Seized Account 3A, 3B, and

   3C:

                a.   On September 14, 2017, Seized Account 2A wired

   $50,162.05 into Seized Account 3A.

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                b.   On October 12, 2017, Seized Account 3A wired

   approximately $21,500 into SUBJ Seized Account 3B.

                c.   On January 5, 2018, Seized Account 3A wired

   approximately $600,000 into Seized Account 3C.

            5. Seized Account 4

         47.    From my review of the records for Seized Account 4

   (belonging to Spear), I learned that on or about March 16, 2016,

   Seized Account 3A transferred $250,000 into Seized Account 4 as

   an opening deposit.      On March 20, 2018, Live Oak Bank confirmed

   that these funds have remained in Seized Account 4 since the

   account was opened.

            6. Seized Account 5A and 5B

         48.    I have reviewed financial records related to Seized

   Accounts 5A and 5B, held in the name of Natasha Spear, Scott

   Spear’s adult daughter.       From this review, I learned the

   following:

                a.   On February 23, 2017, Seized Account 3A wired

   approximately $50,000 into Seized Account 5A.

                b.   On the February 23, 2017, Seized Account 3A wired

   $50,000 into Seized Account 5B.

            7. Seized Account 6

         49.    From my review of financial records related to Seized

   Account 2A, 2B and 6, I learned the following:



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               a.    On October 2, 2017, Seized Account 2A wired

   approximately $297,795 into Seized Account 6.




            8. Seized Accounts 7A through 7E

         50.   From my review of financial records of Seized Accounts

   2A and 2B, 7A through 7D, and 12A, I learned the following:

               a.    On July 6, 2017, Seized Account 2A wired

   $971,651.51 into Seized Account 7A.

               b.    On July 28, 2017, Seized Account 7A wired

   $400,000 into Seized Account 7B.

         51.   From my review of financial records of Seized Account

   1 and 7C, and those concerning the Veritex Bank account ending

   in -1462, held in the name of Posting Solutions (“Account -

   1462”), 12 I learned the following:




    12 Veritex Bank is a U.S. bank located in Dallas, Texas.
   Posting Solutions opened Veritex Bank account -1462 on or about
   January 5, 2017.
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         a.     On January 13, 2017 and January 20, 2017, a GoCoin

   account in Singapore wired a total of approximately $1,318,800

   into Account -1462.

         b.     In February 2017, Account -1462 wired a total of

   $5,395 to Verizon, in Los Angeles.

         c.     On August 8, 2017, Seized Account 1 wired $62,000 into

   Seized Account 12A.

         d.     On November 3, 2017, Seized Account 12A wired $100,000

   to SUBJE Seized Account 7D.

              9. Seized Account 8A, 8B, 8C, and 8D

         52.    From my review of the records for Seized Accounts 2A

   and 2B, 8A, and 8B, I learned the following:

                a.   On February 2, 2018, Seized Account 2A wired

   $28,337 into Seized Account 8A.

                b.   Also on February 2, 2018, Seized Account 2A wired

   $28,337 into Seized Account 8B.

         53.    From my review of Seized Account 1, 8C, and 8D, I

   learned the following:

                a.   On August 2 and August 8, 2017, Seized Account 1

   wired $33,700 and $44,000, respectively, to S&W Payroll, a

   company Backpage uses to pay its employees.

                b.   Between August 11, 2017, and December 1, 2017,

   S&W Payroll wired a total of $207,125.81 into Seized Account 8C.



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               c.    Between November 3, 2017, and December 8, 2017,

   Seized Account 8C wired $57,500 into Seized Account 8D.

            10.      Seized Account 9

         54.   From my review of the records for Seized Account 2A

   2B, and 9, I learned that on February 2, 2018, Seized Account 2A

   wired $734,603.70 into Seized Account 9.

            11.      Seized Account 10

         55.   From my review of records for Seized Accounts 2A and

   10, I learned that on February 2, 2018, Seized Account 2A wired

   $94,154.89 into Seized Account 10.

            12.      Seized Account 11

         56.   From my review of Seized Accounts 1, 8C, 8D, and 11,

   as well as Account -1462 (as described above, a Posting

   Solutions’ Veritex Bank account), I learned the following:

               a.    On January 4, 2017, GoCoin’s Singapore account

   wired $489,500 into Account -1462, and on January 20, 2017,

   GoCoin’s Singapore account directed two additional wires, for

   $358,150 and $470,150, respectively, into Account -1462 (for a

   total of $1,317,800 wired from GoCoin’s Singapore account into

   Account -1462).

               b.    On January 24, 2017, Account -1462 wired

   approximately $1.3 million into S&W Payroll.

         57.   On January 27, 2017, an S&W Payroll account wired a

   total of $9,913.53 into Seized Account 11.

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  Case                  *SEALED*
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            13.      Seized Accounts 12A and 12B

         58.   From my review of financial records for Seized Account

   1, 12A, and 12B, I learned the following:

               a.    On August 8, 2017, Seized Account 1 wired $62,000

   into Seized Account 12A.

         59.   On December 8, 2017, Seized Account 12A wired $20,000

   into Seized Account 12B.

            14.      Seized Account 13

         60.   From my review of financial records for Seized

   Accounts 1, 12A, and 13, I learned the following:

               a.    In January 2017, eized Account 1 wired $62,000

   into Seized Account 12A.

               b.    On August 16, 2017, Seized Account 12A wired

   $20,000 into Seized Account 13.

            15.      Seized Account 14

         61.   I have reviewed records for Seized Account 14 as well

   as the following accounts:        the BBT Account; the AZBT Account;

   Charles Schwab account number 49074693 in the name of Larkin

   (“Schwab Account”); Northern Trust Company account number

   2389562 under the name “Ocotillo Family Trust,” belonging to

   James Larkin” (“Northern Trust Account”); and Morgan Stanley

   account number 237-061673 belonging to James Larkin and his

   wife, Margaret Larkin (the “Morgan Stanley Account”).

   Additionally, I have reviewed GoCoin transactions related to

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   certain ads posted on Backpage, specifically including ads that

   related to child victims A.C., S.F., T.S., S.L., K.O., and R.W.

   (previously described in paragraph 26, above). 13          Finally, I

   reviewed emails associated with the email addresses used to post

   some of the ads promoting the trafficking of A.C., S.F., T.S.,

   S.L., K.O., and R.W.      From this review I observed the following:

               a.    On September 6, 2015, a bitcoin account

   associated with the owner of the email address who trafficked

   A.C. and S.F. paid Backpage about $4 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in Palm

   Springs, California.

               b.    On September 15, 2015, an email from the same

   email address owner indicated a payment to Backpage of about $8

   worth of bitcoin in order to “Fund Account” for

   palmsprings.backpage.com.       Based on information I have learned

   through this investigation, I believe that to “Fund Account”

   means that the email address owner provided bitcoin to Backpage

   as payment for credit to be used at a later time to pay for

   Backpage ads.




    13 As previously described, the pimp who trafficked A.C. and
   S.F. was convicted and sentenced to 196 years imprisonment, and
   the pimp who trafficked T.S., S.L., K.O., and R.W. was convicted
   and sentenced to 300 months imprisonment.

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               c.    On October 6, 2015, the same email address owner

   paid Backpage about $1 worth of bitcoin to “Fund Account” on

   palmsprings.backpage.com.

               d.    On October 30, 2015, a bitcoin account associated

   with the owner of the email address who trafficked T.S., S.L.,

   K.O., and R.W. paid Backpage about $1 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in

   Columbus, Ohio.

               e.    On November 2, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to “Move Ad to Top

   of Listings” in the Columbus, Ohio Backpage ads.

               f.    On November 21, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to Backpage for

   credit for that email owner’s Backpage ad account.

               g.    During the period of September 4, 2015, and

   November 23, 2015, Backpage advertisers used bitcoin to purchase

   about 1,000,000 “adult” ads from Backpage.           Backpage then sold

   that bitcoin to GoCoin for approximately $8.6 million.             Included

   among the bitcoin sold to GoCoin during this period were the six

   payments the pimps made to Backpage to purchase ads to promote

   child prostitution.

               h.    During the period of December 14, 2015, through

   December 29, 2015, a GoCoin account held in Slovakia wired over

   $1.25 million to the BBT Account in the United States.             Based on

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   my review of GoCoin’s financial records and GoCoin’s pattern of

   payments to Backpage for bitcoin sales, I believe that this

   $1.25 million represented GoCoin’s partial payment to Backpage

   for the bitcoin Backpage sold to GoCoin during the period of

   September 4, 2015, through November 23, 2015.

               i.     On December 31, 2015, the BBT Account wired

   $811,424 to the AZBT Account.

               j.     On January 11, 2016 the AZBT Account wired

   approximately $1.3 million to the Schwab Account.

               k.     On January 14, 2016, the Schwab Account wired

   approximately $13.5 million to the Northern Trust Account.

               l.     In July 21, 2017, the Northern Trust Account

   wired $6.014 million to the Morgan Stanley Account.

               m.     In or about November 2017, Morgan Stanley elected

   to terminate its business relationship with Larkin.

               n.     Following this, on November 30, 2017, Larkin

   wired all the funds then held the Morgan Stanley Account, about

   $10 million dollars, to Seized Account 14.

               o.     Some of the funds in Seized Account 14 were used,

   among other things, to purchase bonds and/or securities, which

   assets remain held in Seized Account 14.

            16.       Seized Accounts 15A through 15G

         62.      I have reviewed records for Seized Account 15 as well

   as the following accounts:        the BBT; the AZBT Account; Wells

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   Fargo Bank Account number 6324184891, belonging to John Brunst

   (“WFB Account -891”); and Wells Fargo Bank Account number

   00007910147474, belonging to the Brunst Family Trust (“WFB

   Account -474”).     Additionally, I have reviewed GoCoin

   transactions related to certain ads posted on Backpage,

   specifically including ads that related to child victims A.C.,

   S.F., T.S., S.L., K.O., and R.W. (previously described in

   paragraph 26, above.)       Finally, I reviewed emails associated

   with the email addresses used to post some of the ads promoting

   the trafficking of A.C., S.F., T.S., S.L., K.O., and R.W.              From

   this review I observed the following:

               a.    On September 6, 2015, a bitcoin account

   associated with the owner of the email address who trafficked

   A.C. and S.F. paid Backpage about $4 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in Palm

   Springs, California.

               b.    On September 15, 2015, an email from the same

   email address owner indicated a payment to Backpage of about $8

   worth of bitcoin in order to “Fund Account” for

   palmsprings.backpage.com.       Based on information I have learned

   through this investigation, I believe that to “Fund Account”

   means that the email address owner provided bitcoin to Backpage

   as payment for credit to be used at a later time to pay for

   Backpage ads.

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               c.    On October 6, 2015, the same email address owner

   paid Backpage about $1 worth of bitcoin to “Fund Account” on

   palmsprings.backpage.com.

               d.    On October 30, 2015, a bitcoin account associated

   with the owner of the email address who trafficked T.S., S.L.,

   K.O., and R.W. paid Backpage about $1 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in

   Columbus, Ohio.

               e.    On November 2, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to “Move Ad to Top

   of Listings” in the Columbus, Ohio Backpage ads.

               f.    On November 21, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to Backpage for

   credit for that email owner’s Backpage ad account.

               g.    During the period of September 4, 2015, and

   November 23, 2015, Backpage advertisers used bitcoin to purchase

   about 1,000,000 “adult” ads from Backpage.          Backpage then sold

   that bitcoin to GoCoin for approximately $8.6 million.            Included

   among the bitcoin sold to GoCoin during this period were the six

   payments the pimps made to Backpage to purchase ads to promote

   child prostitution.

               h.    During the period of December 14, 2015, through

   December 29, 2015, a GoCoin account held in Slovakia wired over

   $1.25 million to the BBT Account in the United States.            Based on

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Case
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   my review of GoCoin’s financial records and GoCoin’s pattern of

   payments to Backpage for bitcoin sales, I believe that this

   $1.25 million represented GoCoin’s partial payment to Backpage

   for the bitcoin Backpage sold to GoCoin during the period of

   September 4, 2015, through November 23, 2015.

               i.    On December 31, 2015, the BBT Account wired

   $811,424 to the AZBT Account.

               j.    On December 6, 2016 the AZBT Account wired

   $161,459 to the WFB Account -891.

               k.    On January 4, 2017, the AZBT Account wired

   another $258,841 to the WFB Account -891.

               l.    On January 5, 2017, the WFB Account transferred

   $300,000 to WFB Account -474.

               m.    On May 19, 2017 the WFB Account -474 wired about

   $1.5 million into Seized Account 15A.

               n.    On May 23, 2017 Seized Account 15A transferred

   about $350,000 to Seized Account 15B.

               o.    On June 7, 2017, Seized Account 15A transferred

   about $1.34 million to Seized Account 15C.

               p.    On September 13, 2017, Seized Account 15C

   transferred about $581,000 to Seized Account 15D.

               q.    On September 13, 2017, Seized Account 15C

   transferred about $250,000 to Seized Account 15E.



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               r.    On September 13, 2017, Seized Account 15C

   transferred about $250,000 to Seized Account 15F.

               s.    On September 15, 2017, Seized Account 15C

   transferred about $500,000 to Seized Account 15G.

            17.      SUBJECT ACCOUNTS 16A, 16B, 16C, 16D, 16E, 16F, 16G,

               16H, and 16I

         63.   From my review of financial records related to Seized

   Accounts 2A, 6, 7B, and 9, and Subject Accounts 16A, 16B, 16C,

   16D, 16E, 16F, 16G, 16H, and 16I, I learned the following:

               a.    On June 8, 2017, Seized Account 2A wired

   approximately $297,795 into SUBJECT ACCOUNT 16A.

               b.    On June 30, 2017 SUBJECT ACCOUNT 16A transferred

   $600,000 to SUBJECT ACCOUNT 16B.

               c.    On April 16, 2018, Lacey personally went into the

   Republic Bank of Arizona, withdrew $500,000 from SUBJECT ACCOUNT

   16A and opened SUBJECT ACCOUNT 16C with an initial deposit of

   the $500,000 he had just withdrawn from SUBJECT ACCOUNT 16A.

               d.    On or about February 15, 2018, Lacey drafted two

   checks totaling $1.2 million, which he used to fund his “CDARS”

   accounts at Republic Bank of Arizona.         The first check was drawn

   from Seized Account 6 in the amount of $600,000 and deposited

   into SUBJECT ACCOUNT 16D.       The second check also was drawn from

   Seized Account 9, also in the amount of $600,000, but was split



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   evenly into SUBJECT ACCOUNTS 16E (which received $300,000) and

   16F (which received $300,000).

               e.    On or about February 8, 2018, Larkin drafted a $1

   million check drawn from Seized Account 7B and made payable to

   Republic Bank of Arizona in order to fund his “CDARS” accounts

   at that bank.     SUBJECT ACCOUNT 16G received $500,000, SUBJECT

   ACCOUNT 16H received $250,000, and SUBJECT ACCOUNT 16I received

   $250,000.

             18.     SUBJECT ACCOUNT 17

         64.   I have reviewed records for SUBJECT ACCOUNT 17 as well

   as the following accounts: the BBT Account; the AZBT Account;

   Arizona Bank & Trust annuity trust account numbers 9361121967,

   9361121972, 9361121986, 9361121991, and 9361122014, all held in

   Lacey’s name (“AZBT Annuity Accounts”); and Johnson Financial

   account number 1000879992 held in an IOLTA with Lacey as the

   sole beneficiary.     From this review, I learned the following:

               a.    Between December 14, 2015, and January 15, 2016,

   in approximately 26 wires, a GoCoin account in Slovakia

   transferred over $2.5 million to the BBT Account in the United

   States.

               b.    On January 15, 2016, the BBT account wired

   $189,571 to Verizon in Los Angeles, California, in payment for

   Backpage internet services.



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               c.    Between January 21, 2016, and August 31, 2016, in

   approximately 27 wires, the BBT Account transferred

   approximately $48 million to the AZBT Account.

               d.    Between April 1, 2016, through October 6, 2016,

   in approximately 12 transactions, the AZBT Account transferred

   over $18 million to the AZBT Annuity Trust Accounts.

               e.    On December 29, 2016, Lacey’s AZBT Annuity Trusts

   Accounts sent five wires totaling $16.5 million to the Johnson

   Financial Bank Account.

               f.    On January 3, 2017, the Johnson Financial Account

   wired the $16.5 million to the SUBJECT ACCOUNT 17 in Hungary.

            19.      SUBJECT ACCOUNTS 18A, 18B, 18C, 18D, 18E, 18F, 18G,

               18H, 18J, 18K, and 18L

         65.   On April 5, 2018, pursuant to a plea agreement in the

   District of Arizona, Ferrer plead guilty to a single-count

   information charging him with a violation of 18 U.S.C. § 371,

   conspiracy to violate 18 U.S.C. §§ 1952 (the Travel Act) and

   1956 (money laundering).       As part of his plea agreement, Ferrer

   agreed to “take all steps within his power to forfeit to the

   United States all corporate assets and other property owned or

   controlled by Website Technologies, LLC, which own and operates

   the Backpage website, as well as corporate assets and other

   property owned or controlled by Backpage.com, LLC, Posting

   Solutions LLC, Amstel River Holdings, LLC, Ad Tech BV, and UGC

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   Tech Group CV.”     That same day, also in the District of Arizona,

   Backpage.com, LLC and related entities plead guilty to 18 U.S.C.

   § 1956(h) (money laundering conspiracy).

         66.    On April 17 and April 18, 2018, along with other law

   enforcement agents and prosecutors, I spoke with Ferrer and his

   attorneys in Phoenix, Arizona.        Following this in-person

   interview, I also have spoken with Ferrer on the phone and

   communicated via email.       From my review of Service Level

   Agreements, financial records related to SUBJECT ACCOUNTS 18,

   and records and statements provided by Ferrer, I know the

   following:

                a.    SUBJECT ACCOUNTS 18A, 18B, 18C are accounts owned

   by Ad Tech BV and controlled by Backpage.          According to Ferrer,

   all funds in this account are the criminally derived proceeds of

   ads promoting prostitution. According to Ferrer, SUBJECT

   ACCOUNTS 18A, 18B, and 18C are accounts receivable bank

   accounts.    Payment processors and merchant processors would take

   credit card payments, and payments such as bitcoin payments from

   Backpage customers for prostitution and other ads, and would

   transfer these funds to accounts such as SUBJECT ACCOUNTS 18A,

   18B and 18C.      Per his plea agreement and his cooperation, Ferrer

   has agreed to surrender these funds and/or securities to the

   United States.

                b.    SUBJECT ACCOUNTS 18D, 18E, and 18F are accounts

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   held by a third party, Gold Leaf SRO.         According to Ferrer and

   Service Level Agreements (“SLA”) between Ad Tech BV, a Backpage

   owned company and Gold Leaf SRO, which I have reviewed, the

   funds and/or securities in these accounts are the criminally

   derived proceeds of Backpage ads, including ads promoting

   prostitution.     The SLAs state that 99.5% of the net proceeds are

   to be paid to Ad Tech BV, which is owned by Backpage.            According

   to Ferrer, the arrangement between Gold Leaf, SRO, and Backpage

   was put into place to evade what he called a “blockade by credit

   card companies.”     Ferrer explained that beginning around 2015,

   U.S. credit card companies such as MasterCard and Visa refused

   to process credit card payments for Backpage due to the negative

   press surrounding sex trafficking and prostitution content on

   Backpage.    As one of the ways around this “blockade,” Backpage

   Operators set up agreements with foreign persons and partners to

   “franchise” websites for the sole purpose of accepting credit

   card payments.     According to Ferrer, this use of foreign third-

   parties and foreign accounts allowed Backpage to continue to

   accept credit card payments for prostitution ads while

   concealing from the credit card companies that the payments were

   for Backpage ads.     Ferrer said that Gold Leaf SRO existed for

   the sole purpose of funneling to Backpage accounts otherwise

   prohibited credit card payments for Backpage ads.            Ferrer

   explained that these accounts are owned by Backpage and are not

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   co-mingled with other funds, and are therefore subject to

   seizure and forfeiture to the United States.

               c.    SUBJECT ACCOUNTS 18G, 18H, and 18I are accounts

   held by a third party, Protecttio SRO.         According to Ferrer and

   an agreement between Protecttio SRO and Ad Tech BV, which I have

   reviewed, the arrangements between these entities are

   essentially the same as the Gold Leaf SRO arrangement.            This

   business arrangement existed for the sole purpose of allowing

   purchasers of prostitution ads to purchase ads on Backpage

   websites while evading the credit card company blockade.             Ferrer

   explained that these accounts are owned by Backpage and are not

   co-mingled with other funds and/or securities, and are therefore

   subject to seizure and forfeiture to the United States.

               d.    SUBJECT ACCOUNTS 18J, 18K, 18L are accounts held

   by a third party, Varicok SRO.        According to Ferrer and an

   agreement between Varicok SRO and Ad Tech BV, which I have

   reviewed, the arrangement is essentially the same as the Gold

   Leaf SRO, and Protecttio SRO.        This business arrangement existed

   for the sole purpose of allowing purchasers of prostitution ads

   to purchase ads on Backpage websites while evading the credit

   card company blockade.      Ferrer explained that these accounts are

   owned by Backpage and are not co-mingled with other funds and/or

   securities, and are therefore subject to seizure and forfeiture

   to the United States.

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            20.      SUBJECT ACCOUNTS 19A, 19B, 19C, and 19D

         67.    From speaking with Ferrer and reviewing financial

   records, I learned the following:

                a.   SUBJECT ACCOUNTS 19A, 19B, 19C, and 19D, are

   owned by Ad Tech BV, with Ferrer as the ultimate beneficial

   owner.     According to Ferrer, SUBJECT ACCOUNTS 19A, 19B, 19C and

   19D are accounts receivable banking accounts.           Payment

   processors and merchant processors would take credit card

   payments, and payments such as bitcoin payments from Backpage

   customers for prostitution and other ads, and would transfer

   these funds to accounts such as SUBJECT ACCOUNTS 19A, 19B, 19C,

   and 19D.    These accounts contain funds and/or securities that

   are criminally derived and are subject to forfeiture.             Ferrer

   and Backpage has agreed to surrender these funds and/or

   securities as they are criminally derived.

            21.      SUBJECT ACCOUNT 20

         68.    From speaking with Ferrer and reviewing financial

   records, I learned the following:

                a.   SUBJECT ACCOUNT 20 at Knab Bank in the

   Netherlands is an account held by a third party, Procop Services

   BV.   According to Ferrer the arrangement is essentially the same

   as the Gold Leaf SRO and Protecttio SRO, as described with

   respect to SUBJECT ACCOUNTS 19.        This business arrangement

   existed for the sole purpose of allowing purchasers of

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   prostitution ads to purchase ads on Backpage websites while

   evading the credit card company blockade.          Ferrer explained that

   these accounts are owned by Backpage and are not co-mingled with

   other funds and/or securities, and are therefore subject to

   seizure and forfeiture to the United States.

            22.      SUBJECT ACCOUNT 21A and 22B

         69.   From speaking with Ferrer and reviewing financial

   records and business agreements, I learned the following:

               a.    SUBJECT ACCOUNT 21A is an account in the

   Netherlands held in the name of Gulietta Group BV.            According to

   Ferrer and the SLA, the funds and/or securities in this account

   are derived from selling advertisements online, most of which

   are for prostitution advertisements.         The SLAs state that 99.5%

   of the net proceeds are to be paid to Ad Tech BV which is owned

   by Backpage.     According to Ferrer, the arrangement between

   Guilietta Group BV and Ad Tech BV (Backpage) was put into place

   to evade the same credit card “blockade” described in with

   regard to SUBJECT ACCOUNTS 18D, 18E, and 18F.           Ferrer explained

   that these accounts are owned by Backpage and are not co-mingled

   with other funds and/or securities, and are therefore subject to

   seizure and forfeiture to the United States.

               b.    SUBJECT ACCOUNT 21B is an account in the

   Netherlands held in the name of UnivsersAds BV.           According to

   Ferrer and the SLA between the companies, the funds and/or

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   securities in this account are derived from selling

   advertisements online, most of which are for prostitution

   advertisements.     The Service Level Agreements state that 99.5%

   of the net proceeds are to be paid to Ad Tech BV which is owned

   by Backpage.     According to Ferrer, the arrangement between

   UniversAds BV and Ad Tech BV or Backpage was put into place to

   evade the same credit card blockade described above.            Ferrer

   explained that these accounts are owned by Backpage and are not

   co-mingled with other funds and/or securities, and are therefore

   subject to seizure and forfeiture to the United States.

      VI.      CONCLUSION

         70.   For the reasons stated above, there is probable cause

   to believe that the funds and/or securities on deposit in the

   SUBJECT ACCOUNTS are subject to seizure and forfeiture by the

   United States under the following provisions:

               a.    18 U.S.C. § 981(a)(1)(A), because the funds

   and/or securities in each of the SUBJECT ACCOUNTS are involved

   in, and traceable to, one or more transactions or attempted

   transactions in violation of 18 U.S.C. § 1956(h) (Conspiracy to

   Launder Money), 18 U.S.C. § 1956(a)(2) (International Money

   Laundering for Promotion), and 18 U.S.C. § 1957 (Financial

   Transactions Involving Illicit Proceeds); and

               b.    18 U.S.C. § 981(a)(1)(C), because the funds

   and/or securities in the SUBJECT ACCOUNTS constitute and are

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   derived from proceeds traceable to one or more violations of 18

   U.S.C. § 1952, and 18 U.S.C. § 1591).



                                                     /s/
                                       __________________________________
                                          Lyndon Versoza
                                          U.S. Postal Inspector

   Subscribed to and sworn to me
   this 26th day of April, 2018


   ______________________________
   United States Magistrate Judge




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